Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20           Desc Main
                                     Document      Page 1 of 9



                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                                  CASE NO. 10-79803


 SUSAN PISTILLO,                                         CHAPTER: 7


                  Debtor.




                                     NOTICE OF HEARING

       PLEASE TAKE NOTICE that Deutsche Bank National Trust Company, as Trustee
for Ixis Real Estate Capital Trust 2006-HE3 Mortgage Pass Through Certificates, Series
2006-HE3 has filed a Motion to Reopen and related papers with the Court seeking an Order
Reopening the Closed Case.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: 1-833-568-8864; meeting id
161 346 1602, at 10:15 A.M., on November 3, 2021 in Courtroom 1204, United States Courthouse,
75 Ted Turner Drive SW, Atlanta, GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how, and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk’s Office is: Clerk, U.S. Bankruptcy
Court, 75 Ted Turner Drive SW, Room 1340, Atlanta, GA 30303. You must also mail a copy of
your response to the undersigned at the address stated below.


140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20    Desc Main
                                     Document      Page 2 of 9




                                                     /s/ Brian K. Jordan
                                                     Brian K. Jordan, Bar No.: 113008
                                                     Counsel for Creditor PHH
                                                     Mortgage Corporation, successor by
                                                     merger with Ocwen Loan Servicing, LLC,
                                                     as attorney-in-fact for Deutsche Bank
                                                     National Trust Company, as Trustee for
                                                     Ixis Real Estate Capital Trust 2006-HE3
                                                     Mortgage Pass Through Certificates,
                                                     Series 2006-HE3
                                                     Aldridge Pite, LLP
                                                     Fifteen Piedmont Center
                                                     3575 Piedmont Road, N.E., Suite 500
                                                     Atlanta, GA 30305
                                                     Phone: (404) 994-7400
                                                     Fax: (619) 590-1385
                                                     Email: bjordan@aldridgepite.com




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20      Desc Main
                                     Document      Page 3 of 9



                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

 IN RE:                                               CASE NO. 10-79803


 SUSAN PISTILLO,                                      CHAPTER: 7


                  Debtor.




            MOTION TO REOPEN DEBTOR’S CLOSED BANKRUPTCY CASE

        Pursuant to Rule 5010 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”)

and Section 350(b) of the United States Bankruptcy Code, PHH Mortgage Corporation, successor

by merger to Ocwen Loan Servicing, LLC as attorney-in-fact for Deutsche Bank National Trust

Company, as Trustee for Ixis Real Estate Capital Trust 2006-HE3 Mortgage Pass Through

Certificates, Series 2006-HE3 (“Creditor”), hereby submits its Motion to Reopen the Bankruptcy

Case (“Motion to Reopen”) to file a Motion for an Order of Contempt for Failure to Comply with

Court Order (“Motion for Contempt”). Debtor has refused to comply with an Order of this Court

directing her to surrender the real property located at 15 Princeton Avenue, Hewlett, New York

11557 (the “Property”). Specifically, Debtor was required to withdraw her: (1) Opposition to

Creditor’s Motion to Reargue in the 2008 Foreclosure Action; and (2) Opposition to Creditor’s

Appeal from the QT OSC Denial Order pending before the Appellate Division Second

Department; and (3) to move or execute a stipulation to vacate the Amended Default Judgment

Order discharging the Mortgage in the 2017 Quiet Title Action; and (4) to move or execute a

stipulation to vacate the dismissal of the Foreclosure Appeal in the 2008 Foreclosure Action.




140383.06133/127092393v.1
Case 10-79803-lrc            Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20             Desc Main
                                      Document      Page 4 of 9



Additionally, Creditor intends to seek sanctions against Debtor, including, but not limited to, the

amount of the Creditor’s reasonable attorney’s fees and costs and vacating of Debtor’s Discharge.

                            I.   RELEVANT FACTUAL BACKGROUND

A.       MOTION TO COMPEL AND ORDER ON MOTION TO COMPEL

        1.      On October 12, 2020, Creditor filed its Motion to Compel Debtor to Surrender Real

Property Pursuant to Statement of Intention (“Motion to Compel”). See Request for Judicial Notice

(“RJN”), Exhibit A. Creditor sought an order compelling Debtor to surrender her rights to the

Property pursuant to her Statement of Intention as required by 11 U.S.C. § 521(a)(2)(b) and cease

her ongoing and continuous efforts to oppose Creditor’s foreclosure under state law.

        2.      On November 19, 2020, this Court entered the Order Granting the Motion to

Compel Surrender. See Dkt. No. 26. The Order directed Debtor explicitly to cease all defense

and/or opposition to Creditor’s foreclosure regarding the Property.

B.       DEBTOR’S FAILURE TO COMPLY WITH ORDER GRANTING THE MOTION

TO COMPEL

        3.      Following entry of the Order Granting Motion to Compel Surrender, Creditor’s

New York counsel, Blank Rome LLP, filed letters in the 2008 Foreclosure Action, 2017 Quiet

Title Action, and with the Appellate Division Second Department, informing the Courts and

Debtor’s counsel, of this Court’s Order and advised Debtor’s compliance must include withdrawal

of Debtor’s opposition to Creditor’s foreclosure efforts regarding the Property.

        4.      Since that time, Credit and Debtor attempted to resolve all of the litigations through

a global settlement, but settlement efforts failed on July 8, 2021. As of the date of the filing of this

Motion, Debtor has still failed to comply with the Order Granting the Motion to Compel Surrender.




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20          Desc Main
                                     Document      Page 5 of 9



        5.      Creditor has attempted to amicably resolve the pending foreclosure without need to

file the present Motion for Contempt. However, all Creditor’s attempts to resolve this matter with

the Debtor have been rejected. Creditor is left with no other option but to move this Court to find

Debtor in Contempt of the Order granting then Motion to Compel Surrender and enter an additional

order requiring Debtor’s compliance with the Order, awarding sanctions sufficient to coerce

Debtor’s compliance with said Order and reimbursing Creditor for the fees and costs incurred in

seeking Debtor’s compliance.

                                          II.   ARGUMENT

             A. THE COURT SHOULD REOPEN THE 2010 BANKRUPTCY CASE FOR
                THE LIMITED PURPOSE OF HEARING THE CREDITOR’S MOTION
                FOR CONTEMPT

        1.      Legal Standard

        Rule 5010 of the Federal Rules of Bankruptcy Procedure provides, in pertinent part, that

“[a] case may be reopened on motion of the debtor or other party in interest pursuant to § 350(b)

of the Code.” Fed. R. Bankr. P. 5010. Further, Section 350 of the Bankruptcy Code provides that

a case may be reopened for “cause.” See 11 U.S.C. § 350; In re Rochester, 308 B.R. 596, 600

(Bankr. N.D. Ga. 2004) (“Court may reopen a closed case in order to administer assets, accord

relief to the debtor, or for other cause.”).

        The term “cause” under Section 350(b) casts a broad net, and a decision to reopen falls

within the “sound discretion of a bankruptcy court.” In re Rochester, 308 B.R. at 600 (citing In re

Sheerin, 21 B.R. 438, 439–40 (1st Cir. BAP 1982)); see also In re Daniel, 205 B.R. 346, 348

(Bankr. N.D. Ga. 1997). “The Court must consider the facts presented in each case and use its

discretion to determine whether cause exists to reopen a case.” Id. (citing In re Koch, 229 B.R. 78,

88 (Bankr.E.D.N.Y.1999) (“The bankruptcy court should exercise its discretion, based upon the




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20            Desc Main
                                     Document      Page 6 of 9



peculiar facts present and determine if cause exists and how ultimately to dispose of the case.”)); In

re Winebrenner, 170 B.R. 878, 881 (Bankr.E.D.Va.1994)).

          “Courts have looked to three interests in determining whether to reopen a closed

bankruptcy case: (1) benefit to the debtor; (2) prejudice or detriment to the opponent of reopening;

and (3) benefit to the debtor’s creditors.” In re James, 487 B.R. 587, 594 (Bankr. N.D. Ga. 2013)

(citing In re Tarrer, 273 B.R. 724, 732 (Bankr. N.D. Ga. 2001); In re Maloy, 195 B.R. 517, 518

(Bankr. M.D. Ga. 1996)).

          2. Cause Exists to Reopen this Case

          Here, “cause” exists to reopen the case, so Creditor can file a Motion for Contempt because:

(1) Debtor has failed to comply with this Court’s Order directing her to surrender her interest in

real property pursuant to her Statement of Intention; (2) Creditor will be unduly prejudiced if the

Bankruptcy Court denies the Motion for Contempt because Creditor has been unsuccessful in its

attempts to solicit Debtor’s compliance; and (3) the Bankruptcy Court is the appropriate court to

enforce its own orders as well as award sanctions to encourage compliance.

          Further, Creditor also intends to ask that Debtor’s Discharge be vacated. Debtor has

benefitted from engineering a “no recourse” loan based upon her Statement of Intention providing

that she would surrender the Property. Debtor has discharged her personal liability while

maintaining her opposition to Creditor’s foreclosure and also improperly and in violation of her

surrender of the Property, obtained a discharge of Creditor’s mortgage in the 2017 Quiet Title

Action.

          The Bankruptcy Court is empowered to grant the relief Creditor will request pursuant to

its powers under 11 U.S.C. Section 105(a) through which this Court has contempt power to enforce

its own orders.




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20          Desc Main
                                     Document      Page 7 of 9



                                         CONCLUSION

        For all the foregoing reasons, Creditor respectfully requests that this Court issue an Order

granting this Motion to Reopen in its entirety.


                                                      Respectfully submitted,


                                                         /s/ Brian K. Jordan________________
                                                         Brian K. Jordan, Bar No.: 113008
                                                         Counsel for Creditor PHH
                                                         Mortgage Corporation, successor by
                                                         merger with Ocwen Loan Servicing,
                                                         LLC, as attorney-in-fact for Deutsche
                                                         Bank National Trust Company, as
                                                         Trustee for Ixis Real Estate Capital Trust
                                                         2006-HE3 Mortgage Pass Through
                                                         Certificates, Series 2006-HE3
                                                         Aldridge Pite, LLP
                                                         Fifteen Piedmont Center
                                                         3575 Piedmont Road, N.E., Suite 500
                                                         Atlanta, GA 30305
                                                         Phone: (404) 994-7400
                                                         Fax: (619) 590-1385
                                                         Email: bjordan@aldridgepite.com




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29    Filed 10/06/21 Entered 10/06/21 19:13:20            Desc Main
                                      Document      Page 8 of 9




                     UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

  IN RE:                                               ) Case No. 10-79803
                                                       )
  SUSAN PISTILLO,                                      ) Chapter 7
                                                       )
                   Debtor.                             )
                                                       )

                                     CERTIFICATE OF SERVICE

    I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on October 6, 2021, I caused the MOTION

TO REOPEN DEBTOR’S CLOSED BANKRUPTCY CASE which was filed in this bankruptcy

matter on October 6, 2021, to be served in the manner indicated:

    The following parties have been served by the Court by the virtue of their participation
in the CM/ECF system:

 Kevin J. Cowart

 S. Gregory Hays

The following parties have been served via U.S. First Class Mail:

 Susan Pistillo                                     Susan Pistillo
 312 Addison Lane                                   420 Wyndham Farms Way
 John's Creek, GA 30005                             Milton, GA 30004




140383.06133/127092393v.1
Case 10-79803-lrc           Doc 29   Filed 10/06/21 Entered 10/06/21 19:13:20       Desc Main
                                     Document      Page 9 of 9




I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.

DATED: October 6, 2021
                                                       /s/ Brian K. Jordan________________
                                                       Brian K. Jordan, Bar No.: 113008
                                                       Counsel for Creditor PHH
                                                       Mortgage Corporation, successor by
                                                       merger with Ocwen Loan Servicing,
                                                       LLC, as attorney-in-fact for Deutsche
                                                       Bank National Trust Company, as
                                                       Trustee for Ixis Real Estate Capital Trust
                                                       2006-HE3 Mortgage Pass Through
                                                       Certificates, Series 2006-HE3
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (619) 590-1385
                                                       Email: bjordan@aldridgepite.com




140383.06133/127092393v.1
